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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT

 GARTNER, INC., a Delaware corporation,              )
                                                     )
                         Plaintiff,                  )
                                                     )
      v.                                             ) Civil No. 3:23 CV 642
                                                     )
 INFO-TECH RESEARCH GROUP, INC., a                   ) Hon. Omar A. Williams
 Delaware Corporation, and ALIA MENDONSA,            )
 an individual,                                      )
                                                     )
                        Defendants.                  )
                                                     )

  PLAINTIFF GARTNER, INC.’S RESPONSE IN OPPOSITION TO DEFENDANTS’
 EMERGENCY MOTION FOR COURT CONFERENCE OR IN THE ALTERNATIVE
              TO SET BRIEFING SCHEDULE FOR GARTNER’S
                    EMERGENCY TRO APPLICATION

         Plaintiff Gartner, Inc. respectfully submits this Response in Opposition to Defendants’

Emergency Motion for Court Conference or in the Alternative to Set Briefing Schedule for

Gartner’s Emergency TRO Application (Dkt. No. 29), and in support thereof, states as follows:

         Rather than substantively respond to Gartner’s Emergency Motion for a Temporary

Restraining Order (“Emergency Motion”), Defendants request the Court set a briefing schedule

allowing Defendants over two weeks to respond to Gartner’s Emergency Motion. This delay tactic

not only is improper given the expeditious relief Gartner seeks, it also will propagate the

irreparable harm Defendants are causing Gartner.

         As an initial matter, Defendants have had ample opportunity to substantively respond to

Gartner’s Emergency Motion, and they have failed to do so. On May 5, 2023, Gartner sent

correspondences to Defendants regarding Ms. Mendonsa’s breaches of her Agreement Regarding

Certain Conditions of Employment (“Agreement”) and Defendants’ collective misappropriation




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of trade secrets. (Dkt. No. 1, ¶ 83, Exhibit G thereto). Gartner sought, and Defendants failed to

provide, specific information and assurances from Defendants.

         In light of Defendants’ failure to promptly and meaningfully address Gartner’s concerns,

Gartner filed its Verified Complaint and initial Emergency Motion and Memorandum in Support

thereof on May 17, 2023 1, contemporaneously serving the pleadings on Info-Tech’s counsel and

on Ms. Mendonsa. 2 (Dkt. Nos. 1, 3, 3-1). More than one week later, Defendants have failed to

substantively respond to and/or oppose the Emergency Motion. Instead, they filed a placeholder

motion seeking over an additional week to respond to the Emergency Motion and requesting a

hearing date thereafter. Although the parties are engaged in settlement talks, the negotiations do

not obviate the need for an immediate hearing and decision on the merits.

         Defendants’ undue delay should not be rewarded. As Gartner details in its Emergency

Motion, Defendants’ actions are causing ongoing irreparable harm to Gartner and its business,

necessitating the need for emergency injunctive relief. Setting forth an extended briefing schedule,

such as the one Defendants request, will only exacerbate this harm. As such, Gartner requests the

Court deny Defendants’ request and set Gartner’s Emergency Motion for hearing as expeditiously

as possible.

         WHEREFORE, as set forth above, Gartner respectfully requests the Court deny

Defendants’ Motion in its entirety, set Gartner’s Emergency Motion for Temporary Restraining

Order for an immediate hearing and grant such additional relief as is just and necessary.




1
  Pursuant to this Court’s May 22, 2023 Order, Gartner filed an Emergency Renewed Motion for Temporary
Restraining Order to include the declaration of Kevin M. Cloutier. (Dkt. No. 22, 22-1, 22-2).
2
  At this time, Ms. Mendonsa was not represented by counsel.


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 Dated: May 30, 2023                          Respectfully submitted,

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